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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ABRAHAM LIZAMA, et al.,                   )
                                          )
            Plaintiffs,                   )
                                          )
      vs.                                 )         Case No. 4:22 CV 1170 RWS
                                          )
H&M HENNES & MAURITZ LP,                  )
                                          )
            Defendant.                    )

                                    JUDGMENT

      In accordance with the Memorandum and Order entered this same date,

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that plaintiff

Mark Doten’s claims are dismissed for lack of personal jurisdiction, and plaintiff

Abraham Lizama’s claims are dismissed for failure to state claims against

defendant.




                                 __________________________________
                                 RODNEY W. SIPPEL
                                 UNITED STATES DISTRICT JUDGE

Dated this 12th day of May, 2023.
